      Case 3:18-cv-00131-DPM Document 24 Filed 02/06/19 Page 1 of 1



           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                   JONESBORO DIVISION

MILDRED CROWDER, as Personal
Representative of the Estate of
Timothy Johnson, Deceased                                    PLAINTIFF

v.                        No. 3:18-cv-131-DPM

CITY OF MANILA, ARKANSAS;
and JARED CAMP and JACKIE
HILL, Individually                                       DEFENDANTS

                                ORDER
     Crowder has moved for more time to appeal. Defendants do not
oppose the extension. This timely motion, NQ 23, is granted for good
cause. Any notice of appeal from potential new counsel is due by
13 March 2019.
     So Ordered.

                                                         v
                                       D.P. Marshall Jr.
                                       United States District Judge
